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   7                      UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
   8
   9    TERRY LEE SIEGFRIED, et al.              NO. 2:18−cv−01575−FMO−E

   10
                                                 ORDER SETTING SCHEDULING
                      Plaintiff(s),              CONFERENCE
   11
             v.
   12
        3M COMPANY, et al.
   13
   14                Defendant(s).
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   17        PLEASE READ THIS ORDER CAREFULLY. IT DIFFERS IN SOME
   18    RESPECTS FROM THE LOCAL RULES.

   19        The term "Counsel," as used in this Order, includes parties appearing
   20    pro se.
   21        In an effort to comply with Fed. R. Civ. P. 1's mandate "to secure the just,
   22    speedy, and inexpensive determination of every action[,]" IT IS ORDERED as
   23    follows:
   24        1.     Counsel for the parties shall attend a scheduling conference on
   25    May 10, 2018, at 10:00 AM, in Courtroom 6D of the 1st Street Courthouse.
   26    Lead trial counsel must attend the scheduling conference, unless excused by
   27    the court for good cause shown in advance of the scheduling conference. When

   28    seeking permission not to attend, lead counsel must identify the person who will


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        appear by name and bar number and specify that person's involvement in the case.
   2    The court may choose to postpone the scheduling conference rather than to permit
   3    counsel other than lead counsel to attend. Local counsel may not appear at a
   4    scheduling conference in place of lead counsel. Counsel should not purport to be

   5    "co-lead" counsel as a means of avoiding this requirement.
   6         2.     No later than April 19, 2018, counsel for all appearing parties, if
   7    any, shall meet, in person, and discuss the matters set forth in Fed. R. Civ. P. 26(f)
   8    ("Rule 26(f)") as well as those items identified in paragraph 4, below.
   9         3.     No later than April 26, 2018, counsel for all appearing parties,
   10   and all unrepresented appearing parties, if any, shall file a Joint Rule 26(f) Report.
   11   A mandatory chambers copy of the Joint Rule 26(f) Report shall be delivered to
   12   the chambers drop box at the Clerk's Office, 4th Floor of the First Street Courthouse

   13   by 12:00 p.m. on the business day following the e-filing of the Joint Rule 26(f)
   14   Report.
   15        4.     The Joint Rule 26(f) Report shall be drafted by plaintiff (unless
   16   the parties agree otherwise) but shall be submitted and signed jointly. "Jointly"
   17   contemplates a single report, regardless of how many separately represented parties

   18   there are. The Joint Rule 26(f) Report shall specify the date of the scheduling

   19   conference on the caption page. It shall report on all matters described below,

   20   which include those required to be discussed by Rule 26(f) and Local Rule 26-1:

   21               a.     Statement of the Case: A short synopsis (not to exceed two
   22                     pages) of the main claims, counterclaims and affirmative
   23                     defenses.
   24               b.     Subject Matter Jurisdiction: A statement of the specific basis

   25                      of federal jurisdiction, including supplemental jurisdiction.

   26               c.     Legal Issues: A brief description of the key legal issues,
   27                      including any unusual substantive, procedural or evidentiary
   28                      issues.

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                  d.    Parties, Evidence, etc.: A list of parties, percipient witnesses
   2                    and key documents on the main issues in the case. For conflict
   3                    purposes, corporate parties must identify all subsidiaries all
   4                    subsidiaries, parents and affiliates.

   5              e.    Insurance: Whether there is insurance coverage and the extent
   6                    of such coverage.
   7              f.    Magistrate Judge: Whether the parties consent to a mutually
   8                    agreeable magistrate judge from the court's Voluntary Consent
   9                    List to preside over this action for all purposes, including trial.
   10             g.    Discovery: A detailed discovery plan and a proposed
   11                   discovery cut-off date. If the parties anticipate calling expert
   12                   witnesses, they must propose a schedule for expert witness

   13                   disclosures (initial and rebuttal) and expert discovery cut−off
   14                   under Fed. R. Civ. P. 26(a)(2).
   15             h.    Motions: A statement of the likelihood of motions seeking to
   16                   add other parties or claims, file amended pleadings, transfer
   17                   venue, etc.

   18             i.    Class Certification: A proposed deadline for the filing of a

   19                  class certification motion, if applicable.

   20             j.    Dispositive Motions: A proposed cut-off date for dispositive
   21                  motions and a description of the issues or claims that any
   22                  party believes may be determined by such motions.
   23             k.   Settlement/Alternative Dispute Resolution (ADR):
   24                  A statement of what settlement discussions or written

   25                  communications have occurred (excluding any statement of

   26                  the terms discussed). If counsel have received a Notice to
   27                  Parties of Court-Directed ADR Program, the case
   28                  presumptively will be referred to the Court Mediation

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                        Panel or private mediation (at the parties' expense). If the
   2                    parties jointly desire a settlement conference with the
   3                    assigned magistrate judge, they should so indicate in their
   4                    report, and the matter will be discussed at the scheduling

   5                    conference. No case will proceed to trial unless all parties,
   6                    including an officer (with full authority to settle the case)
   7                    each corporate party, have appeared personally at an ADR
   8                    proceeding.
   9              l.   Pretrial Conference and Trial: The proposed dates for the
   10                  pretrial conference and trial.
   11             m.   Trial Estimate: A realistic estimate of the time required for
   12                  trial and whether trial will be by jury or by court. Each side

   13                  should specify (by number, not by name) how many witnesses
   14                  it contemplates calling. If the time estimate for trial given in
   15                  the Joint Rule 26(f) Report exceeds four court days, counsel
   16                  shall be prepared to discuss in detail the estimate.
   17             n.   Trial Counsel: The name(s) of the attorney(s) who will try

   18                  the case.

   19             o.   Independent Expert or Master: Whether this is a case where

   20                  the court should consider appointing a master pursuant to
   21                  Fed. R. Civ. P. 53 or an independent scientific expert. (The
   22                  appointment of a master may be especially appropriate if
   23                  there are likely to be substantial discovery disputes, numerous
   24                  claims to be construed in connection with a summary judgment

   25                  motion, a lengthy Daubert hearing, a resolution of a difficult

   26                  computation of damages, etc.)
   27             p.   Other Issues: A statement of any other issues affecting the
   28                  status or management of the case (e.g., unusually complicated

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                          technical or technological issues, disputes over protective
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                          orders, extraordinarily voluminous document production,
   3                      non-English-speaking witnesses, ADA-related issues,
   4                      discovery in foreign jurisdictions, etc.) and any proposals
   5                      concerning severance, bifurcation or other ordering of proof.
   6          The Joint Rule 26(f) Report should set forth the above-described information
   7     under section headings corresponding to those in this Order.
   8          5.     Discovery is governed by the Federal Rules of Civil Procedure and
   9     applicable Local Rules of the court. Pro se litigants are entitled to discovery to
   10    the same extent as are litigants represented by counsel. The court allows discovery
   11    to commence as soon as the first answer or motion to dismiss is filed. The parties
   12    should note that discovery shall not be stayed while any motion is pending,
   13    including any motion to dismiss and/or motion for protective order. The parties
   14    are directed to conduct any necessary discovery as soon as possible, as the

   15    court is not inclined to grant any extensions of the discovery or other case-

   16    related deadlines.

   17         6.     Plaintiff's counsel or, if plaintiff is appearing pro se, defendant's
   18    counsel, shall provide this Order to any parties who first appear after the date
   19    of this Order and to parties who are known to exist but have not yet entered

   20    appearances.
   21         7.     The failure of any party or attorney to comply with the requirements

   22    of this Order, the Local Rules or the Federal Rules of Civil Procedure may result

   23    in sanctions being imposed.

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        Dated: March 8, 2018                                       /s/
   26                                                     Fernando M. Olguin
                                                       United States District Judge
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